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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

DANIEL HUMAN, individually and                )
on behalf of others similarly situated,       )
                                              )
               Plaintiff,                     )
                                              )
         vs.                                  )         Case No. 4:24-cv-01177-MTS
                                              )
FISHER INVESTMENTS, INC., et al.,             )
                                              )
               Defendants.                    )

                               MEMORANDUM AND ORDER

         This matter is before the Court on review of Plaintiff’s second Motion for Partial

Summary Judgment. Doc. [60]. The Court denied Plaintiff’s first Motion for Partial

Summary Judgment because it failed to properly support its assertions of fact because it

cited to an improper declaration and an unverified complaint.          Doc. [59].   In the

Memorandum and Order denying the Motion, the Court specifically noted that Plaintiff

also “failed to comply with the Court’s clear requirement in the Case Management Order

that all memoranda in support or opposition to any dispositive motions must contain a

table of contents and a table of authorities.”      Id. at n.* (citing Doc. [34] ¶ 5(b)).

Nevertheless, Plaintiff’s second Motion for Partial Summary Judgment contains neither

table.

         This omission was not the only mistake Plaintiff repeated; he improperly filed his

second Motion for Partial Summary Judgment in the identically erroneous way he filed

the first. Local Rule 4.01(E) provides that “[e]very memorandum in support of a motion
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for summary judgment must be accompanied by a document titled Statement of

Uncontroverted Material Facts, which must be separately filed using the filing event,

‘Statement of Uncontroverted Material Facts.’” E.D. Mo. L.R. 4.01(E). After Plaintiff

failed to file his first Statement of Uncontroverted Material Facts separately, the Clerk of

Court contacted him, informed him of the specific Local Rule, and corrected the error on

the docket by separately filing the Statement of Uncontroverted Material Facts for him.

See Doc. [53]; Doc. [54]; see also Martinez v. Union Pac. R. Co., 82 F.3d 223, 227 (8th

Cir. 1996) (noting the Court of Appeals “has upheld strict compliance by trial courts with

their local rules”). Nevertheless, when he filed his second Motion for Partial Summary

Judgment, he once again failed to comply with this clear Local Rule that had been

brought to his attention. He once again filed the Statement of Uncontroverted Material

Facts as an exhibit to his Memorandum in Support. Doc. [61-9].

       Oversights of course happen. But these latest occurrences have been part of a

troubling pattern of Plaintiff’s careless disregard for Court Rules and directives even after

they explicitly are called to his attention. See, e.g., Doc. [38] (referring Plaintiff to Fed.

R. Civ. P. 41); Doc. [39] (Plaintiff disregarding Fed. R. Civ. P. 41). Going forward,

Plaintiff must pay careful attention that he complies with all applicable rules and the

Court’s orders. His continued failure to do so will result in the dismissal of his claim.

See Mann v. Lewis, 108 F.3d 145, 147 (8th Cir. 1997) (“[A] district court has the power

to dismiss cases when parties fail to comply with its rules.”); Hutchins v. A.G. Edwards

& Sons, Inc., 116 F.3d 1256, 1259 (8th Cir. 1997) (“A district court has the power to



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dismiss a litigant’s cause of action when the litigant fails to comply with the court’s

orders.”).

       Accordingly,

       IT IS HEREBY ORDERED that Plaintiff’s Second Motion for Partial Summary

Judgment, Doc. [60], is DENIED without prejudice.

       Dated this 12th day of March 2025.




                                        MATTHEW T. SCHELP
                                        UNITED STATES DISTRICT JUDGE




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